Case 4:18-cr-00012-MFU-RSB Document 557 Filed 03/04/20 Page 1 of 5 Pageid#: 3109




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                   DANVILLE DIVISION


  UNITED STATES OF AMERICA,                    )
                                               )
  v.                                           )       Case No.4:18CR00012
                                               )
  JALEN CORMARRIUS TERRY,                      )
                                               )
         Defendant.                            )


                       DEFENDANT JALEN CORMARRIUS TERRY’S
                       REPLY MEMORANDUM WITH RESPECT TO
                       PRETRIAL MOTIONS (ECF NOS. 479 AND 487)

                                        Statement of the Case

         In an Order dated February 14, 2020, the Court directed “the parties that argument related

  to ECF Nos. 479 and 487 will be heard at the scheduled March 6, 2020 hearing.” (ECF No. 551.)

                                            ECF No. 479

         ECF No. 479 is Defendant Holland’s Motion in Limine to Exclude Facebook Posts and

  Messages in the Absence of Establishing Proper Foundation, which a co-defendant’s counsel filed

  on October 25, 2019. Jalen Terry (“Terry”) adopted that pre-trial motion, which concerns the

  admissibility of social medial communications housed on Facebook. (Government Exhibits 616

  through 686.) On February 24, 2020, the government responded with its Opposition to Motion to

  Exclude Facebook Evidence. (ECF No. 554.)

                                            ECF No. 487

         ECF No. 487 is a First Motion to Exclude Irrelevant Evidence. A co-defendant’s counsel

  filed this pre-trial motion on November 6, 2019. Terry adopted that motion, which seeks to exclude


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Case 4:18-cr-00012-MFU-RSB Document 557 Filed 03/04/20 Page 2 of 5 Pageid#: 3110




  evidence of several violent incidents under Federal Rules of Evidence 403 and 404. On February

  24, 2020, the government filed its Opposition to Motion to Exclude Irrelevant Evidence and its

  Notice of Intent to Introduce Rule 404(B) Evidence. (ECF No. 555.)

         Terry now replies to the government’s twin memoranda (ECF Nos. 554 and 555.)

                                              Argument

         A.      Terry Joins The Government In Asking That The Court Defer Until Trial Ruling

                 On The Admissibility Of Facebook Evidence.

         In its Opposition to Motion to Exclude Facebook Evidence, the government correctly

  observes, “The admission of relevant Facebook Evidence is a two-step process.” (ECF No. 554,

  page id # 3094.)    The first step is authentication. The government promises to authenticate

  Facebook posts and messages under Rule 901 of the Federal Rules of Evidence. The second step

  is admissibility under an established exception to the rule against hearsay. In their Motion in

  Limine to Exclude Facebook Posts and Messages (ECF No. 479), defendants assumed the United

  States would rely upon the business records exception to the hearsay rule. See FED. R. EVID.

  803(6); see United States v. Cone, 714 F.3d 197, 219-20 (4th Cir. 2013).

         The government in response does not reply upon the business records exception of Rule

  803(6). Instead, the government argues, “Facebook exhibits are either the defendant’s own

  statements or the statements of his co-conspirators and are thus admissible” under Rule 801(d)(2).

  (ECF No. 554, page id # 3096.) “The exhibits being objected to by the defendant,” prosecutors

  assert, “are either the defendant’s direct statements or are admissible co-conspirator statements.”

  (ECF No. 554, page id # 3097.) Ultimately, the United States urges the Court to defer ruling on

  the admissibility of this Facebook evidence until prosecutors demonstrate the posts are direct or


                                                  2
Case 4:18-cr-00012-MFU-RSB Document 557 Filed 03/04/20 Page 3 of 5 Pageid#: 3111




  vicarious admissions within the scope of Rule 801(d)(2). “The Court should await the presentation

  of evidence at trial to make any decision on the admissibility of Facebook evidence containing the

  defendant’s and co-conspirators’ statements,” the government writes. (ECF No. 554, page id #

  3094.)

           Having received the government’s response to his adopted Motion in Limine to Exclude

  Facebook Evidence, Terry joins in its request that the Court defer ruling on that motion until trial.

           B.     Terry Concurs With The Government That The Court Effectively Decided The

                  December 2015 And April 2016 Shootings Are Admissible.

           In his adopted First Motion to Exclude Irrelevant Evidence, Terry asked the Court to

  exclude as unfairly prejudicial any evidence of shootings which occurred in Danville on December

  2015 and April 2016. (ECF No. 487, page id # 2801.) In response (ECF No. 555), the government

  argues that these violence events are admissible either as conduct intrinsic to the RICO conspiracy

  alleged in the Indictment or, alternatively, as uncharged bad act evidence which meets the

  controlling test for admission under Rule 404(b) of the Federal Rules of Evidence.              The

  government points out that in the United States’ companion Danville RICO prosecution, the Court

  ruled that evidence of the December 2015 and April 2016 Danville shootings is admissible under

  either or both of the prosecution’s theories. See United States v. Marcus Davis, 4:18-cr-11 (W.D.

  VA. 2019) (ECF No. 772 at 2-4.)

           Without waiving his motion to exclude evidence of the December 2015 and April 2016

  Danville shootings, Terry acknowledges that the Court effectively decided these events shall be




                                                   3
Case 4:18-cr-00012-MFU-RSB Document 557 Filed 03/04/20 Page 4 of 5 Pageid#: 3112




  admissible at trial. Having preserved this point for appellate review, Terry does not request an

  opportunity to present further written or oral argument.1

                                             Conclusion

         For the foregoing reasons, Defendant Jalen Cormarrius Terry respectfully requests that the

  Court (A) defer until trial ruling on his adopted Motion in Limine to Exclude Facebook Posts and

  Messages in the Absence of Establishing Proper Foundation (ECF No. 479) and (B) note and

  preserve the continuing objection to evidence of the December 2015 and April 2016 Danville

  shootings set forth in his adopted First Motion to Exclude Irrelevant Evidence (ECF No. 487).

                                               JALEN CORMARRIUS TERRY



                                               By: s/Paul G. Beers
                                                     Of Counsel


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   In its Notice of Intent to Introduce Other Crimes Evidence, the government does not suggest it
  shall present evidence concerning the August 2016 homicide of Christopher Motley in Danville.
  Terry is not charged with participating in this shooting or even being present when it occurred.
  Terry assumes the government shall not introduce evidence of this event. Should the government
  notify Terry that it expects to present evidence of the August 2016 shooting, Terry shall object
  under Rules 403 and 404.
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Case 4:18-cr-00012-MFU-RSB Document 557 Filed 03/04/20 Page 5 of 5 Pageid#: 3113




                                        Certificate of Service
         I hereby certify that on March 4, 2020, I electronically filed the foregoing Defendant Jalen

  Cormarrius Terry’s Reply Memorandum with Respect to Pretrial Motions (ECF Nos. 479 and

  487) with the Clerk of the Court using the CM/ECF system which will send notification of such

  filing to all counsel of record.



                                               s/Paul G. Beers
                                               Paul G. Beers




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